Case 1:03-cv-02494-RJL Document 1-2 Filed 12/03/03 Page 1 of 15

C) C) Gary Scurka, Producer
-Winner-
, Columbia duPont Silver
Baton
The Polk Award
Investigative Reporters &
Editor’s
Tom Renner Award |
Two Time Recipient IRE

Second Request Medlin

R E . The National Headliners *
FOIA QUEST : The Nate t Pres Chub
August 15, 2003 ue
Ref.: #FN-1A time

Emmy Award Winner

Commander

_ US. Army Special Operations Command . Ed Caraballo, Producer
Deputy Chief of Staff, Information Management 9 time Emmy Award Winner
ATTN: AOIM-ISM (FOIA Officer) —
Fort Bragg, NC 28310 .

Dear Ms. Wrench,

This is an immediate request for records under the Freedom of Information Act (5 USC
§552 - “FOLIA” laws) of the United States of America. We are journalists currently —
working on a story of public interest. This is our second request, the first is attached.

We are a media organization and request a. waiver of fees for this request because
disclosure of the requested information is in the public interest because it is likely to
contribute significantly to the public interest of DOD operations, and is not in a
commercial interest. However, we are willing to pay any fees associated with the request.
Please notify us in writing if our waiver is turned down, and/or if the fees associated with
this request exceed $100.

- The following information is requested under the FOIA Statutes, regardmg the long .
distance/toll phone calls of the following persons or persons associated or working with
those persons;

Major Gary M. Kolb, USASOC Public Affairs Office,
Major Gowan, USASOC Public Affairs Office,
- Major Scott Stearns, USASOC Public Affairs Office, 02 2494
Brian Sutton, USASOC Public Affairs Office,
Major Kathleen Culp, USASOC

To save the costs and workload associated with reproduction, electronic copies are also
acceptable on diskette or CD in any format that can be read by Microsoft Word. &] iLED

PEN News * www.pbnNews.tv DEC - 3 2003
The most in-depth online investigative reports anywhere “GTON, CLERK
j WHITTINGT
PO Box ® Fayetteville, NC 28302 worn SOUR

646/244-9535 Phone * admin@pbnnews.tv email
"Case 1:03-cv-02494-RJL. Document 1-2. Filed 12/03/03 Page 2 of 15:

Ne’

The Following are each individual FOIA requests:

1. Irequest all copies of all phone records or appropriate documents that detail the long
distance telephone calls made to the following numbers froni the USASOC, USASF
and/or USA JFKSWC Public Affairs Office, or by any of the individuals named above,
for the period of November I, 2001 until October 30, 2002, and from February 1, 2003
until the present date:

yop OR gor moe ho ae oP

Beginning with the area code and prefix: 212, 312, or 706

212/398-8726
706/545-9624
706/687-5978
818/372-6002
818/716-9494
818/903-9945
732/541-7733
732/541-8663
401/521-9558
202/824-6385

877/704-1354

_ 877/709-1354
202/824-6499
202/824-6363
813/827-4885
202/419-0474
212/301-3075
212/391-4818

Thank you for your assistance.

Sincerely,

Ed Caraballo
PBN News

PBN News ° www.pbnNews.tv
The most in-depth online investigative reports anywhere

PO Box * Fayetteville, NC 28302

646/244-9535 Phone * admin@pbnnews.ty email
“Case 1:03-cv- ee RJL Document 1-2 Filed 12/03/03 Page 3. of 15

OO ©

NOT FOR INCLUSION WITH THE FOIA- FOR REFERENCE ONLY

Beginning with the area code and prefix: 212, 312, or 706
212/398-8726 Fox Fax (Klosterman)
706/545-9624 Morris Work
706/687-5978 Morris Home
818/372-6002 Artis
818/716-9494 Artis Fax
818/903-9945 Artis Mobile
732/541-7733 Cafasso New Jersey
732/541-8663 Cafasso New Jersey
401/521-9558 Cafasso Mobile -
202/824-6385 Cafasso @ Fox
877/704-1354 Cafasso pager

. 877/709-1354 Cafasso pager
202/824-6499 Cafasso Fax
202/824-6363 Cafasso Fox voicemail
813/827-4885 unknown
202/419-0474 unknown
212/301-3075 Chris Silvestri (Fox)
212/391-4818 Chris Silvestri (Fox Fax)

Prepon Rm ro ere ho eo oP

PBN News ¢ www.pbnNews.tv
The most in-depth online investigative reports anywhere
PO Box © Fayetteville, NC 28302 .
646/244-9535 Phone * admin@pbnnews.tv, email
season et
ee opmarchert tonne!

Case 1:03-cv-02494-RJL Document 1-2 Filed. 12/03/03 Page 4 of 15

5 Reet fen el er el a ea Mn anne a
= Complete items 1, 2, and 3. Atso'tomplete A. pe i
itern 4 if Restricted Delivery is desired. | ) C1 Agent i
@. Print your name and address on the reverse ENTS Addressee |

so that we can returr the card to you. by s rie
® Attach this card to the back of the mailpiece, sae Le 4. pre C. a oft Delivery. |
or on the front if space permits. N 03
* * D. ts deiffe elfbry address different from item: 1 2 O ved
'f YES, anter delivery address below: [I No

1, Article Addressed to:
Commarcdeir

US.Army Special Operations . !
Deputy Oe of SHAE, inf nae | |
j

Management [=
. Service Typ .
Aut A Fost - zs (e See cen Pi certted Mail 1 Express Mail
: Orr A Registered C1 Return Receipt for Merchandise i
. : 3. oO oO insured Mait C7 6.0.0. |
“Foxe Bragg, NC oO 3I 4. Restricted Delivery? (Extra Fee) = Yes

2. Article Number

(ransom orice bet OFF, 3YO6 COQ cate 35°

PS Form 3811, August 2001 Domestic Return Receipt 102595-02-M-1035

ace [oes ) cera
Beaailig 3°) LL mes

rt
cm
wn
mm
oO Postage |S 9 37
a
m™ Certified Fee $2.30 0208
co Po Postmark
Heturn Receipt Fee . Here
‘TU (Endorsement Required} $1.75 .
a = -
wo Rasiricted Delivery Fee :
cI Endorsement Required) $0.00
mS Totat Postage & Fees $ $4.42 08/29/2083 .
a Name (Please Print Clearly) (to. be completed by mailer)
[a BN Neos
07
~
co
~

Fay eter le mC 38 30.3 OORD.

= ual foie ct Bis sis) oe er RTO Meo a (ol Le club eid E)

Case 1:03-cv-02494-RJL - Document 1-2 ‘Filed 12/03/03 Page 5 of 15

re,
\ . Cy Gary Scurka, Producer
-Winner-
Columbia duPont Silver
Baton
ebarta The Polk Award
Tavestigative Reporters 8:
’ Editor’s
Tom Renner Award
i Two Time Recipient IRE

Second Request | the National Headliners
FOIA REQUEST

Award
The National Press Club
Award
& 19 time *
Emmy Award Winner

August 16, 2003
Ref. #FN-2A
Commander .

U.S. Army Special Operations Command

Deputy Chief of Staff, Information Management

ATTN: AOIM-ISM (FOTA Officer)

Fort Bragg, NC 238310

Ed Caraballo, Producer

5 time Emmy Award Winner

Dear Ms. Wrench, !

This is an immediate request for records under the Freedom of Information Act (5 USC
§552- “FOIA” laws) of the United States of America. We are journalists curtently
_ working on a story of public interest. This is our second request, the first is also attached.

We are a media organization and request a waiver of fees for this request because

disclosure of the requested information is in the public interest because it is likely to
contribute significantly to the public interest of DOD operations, and is not in a

commercial interest. However, we are willing to pay any fees associated with the request. .

. : |

The following information is requested under the FOIA Statutes, regarding the long
distance/toll phone: calls of the following persons or persons associated or working with
those persons;

Chief Warrant Officer Larry Plesser

To save the costs and workload associated with reproduction, electronic copies are
acceptable on diskette or CD in any format that can be read by Microsoft Word.

PBN News * www.pbnNews.tv
The most in-depth online investigative reports anywhere
PO Box © Fayetteville, NC 28302
646/244-535 Phone * admin@pbnnews.v email
Case 1:03-cv-02494-RJL Document 1-2: Filed 12/03/03 Page 6 of 15

The Following are each individual FOIA requests: .

oO

1. [request all copies of all phone records or appropriate documents that detail the long
distance telephone calls made to the following numbers from 910/432-6164 (CW4
Larry Plesser) for the period of November 1, 2001 until October 30, 2002, and from
February 1, 2003 until the present date:

prepoR Rr Rom rw me ao op

Beginning with. the area code and prefix: 212,3 12, or 706

212/398-8726
706/545-9624

706/687-5978:

818/372-6002
818/716-9494
818/903-9945
732/541-7733
732/541-8663
401/521-9558
202/824-6385
877/704-1354

. 877/709-1354

202/824-6499
202/824-6363
813/827-4885
202/419-0474
212/301-3075
212/391-4818

Thank you for your assistance.

Sincerely,

Ed Caraballo
PBN News

PBN News * www.pbnNews.tv
The most in-depth online investigative reports anywhere

PO Box © Fayetteville, NC 28302

646/244-535 Phone * admin@pbnnews.tv email

. . Casé 1:03-cv-02494-RJL -Document 1-2 Filed 12/03/03 Page 7 of 15

C 8

- NOT FOR INCLUSION WITH THE FOIA- FOR REFERENCE ONLY

Beginning with the area code and prefix: 212, 3 12, or 706 -
212/398-8726 Fox Fax (Klosterman)
706/545-9624 Morris Work
706/687-5978 Morris Home
818/372-6002 Artis
818/716-9494 Artis Fax
818/903-9945 Artis Mobile
732/541-7733 Cafasso New Jersey
732/541-8663 Cafasso New Jersey
401/521-95458.Cafasso Mobile .
202/824-6385 Cafasso @ Fox
877/704-1354 Cafasso pager

. 877/709-1354 Cafasso pager
202/824-6499 Cafasso Fax
202/824-6363 Cafasso Fox voicemail
813/827-4885 unknown
202/419-0474 unknown -
212/301-3075, Chris Silvestri (Fox)
212/391-4818 Chris Silvestri (Fox Fax)

pr ep on Bm rit rege me Re: oP

PBN News * www.pbnNews.tv
The most in-depth online investigative reports anywhere
PO Box * Fayetteville, NC 28302
646/244-535 Phone * admin@pbnnews.tv email -
Case 1:03-cv-02494-RJL Document 1-2 Filed 12/03/03 Page-8 of 15
eo, om

Bela ees Da a REL ; a readied Bir iis paribeide au aia

= Complete items 1, 2, and 3. Also complete
item 4 if Restricted Delivery is desired.

™ Print your name and address on the reversé
so that we can return the card to you. =~”

M@ Attach this card to the back of the mailpiece,

or on the front if space permits. dressee |

: 7 D. Is detiverfiadcress cifferent trom item 1? Yes
1. Article Addressed tot If YES, enter delivery address below: [1 No
Commend €r7 qo
U.S. 4em ‘| DSPEcia | OpererkinnS Comband
Deputy Chi ef of Stath “Th for mci

MaMAnEen ere t

Atta: AOTA- rg (eta Offcer

he Service Type
Bhesrun ed Mail 1] Express Mail

_. , C1 Registered . (1 Return Receipt for Merchandise r.

oer BAGG, NC AF3i5 OO insured’ Mait - £16.0.0. i
- 4. Restricted Delivery? (Extra Fea) CO Yes i

2..Articla Number ,

terverton sexe 710 19 3486 a01a 0392 34 21

PS Form 3811, March 2001 '  Demestic Return Receipt

102595-0f-M-1424

4

URS este pana
eae reas

Rae eT ba i

n rors eco a ; ; a

a |

mn "Cros msvaianr abso Fone Ta 2/24 |!

co Postage | 3 $037

rr $7.30 0208

Tt iced ot .

o Certified Fee ag Postmark
Return Receipt Fee $1.75 . Here i

FU (Endorsement Required) |

<a i

Cl ~~ sRestricted Delivery Fee $000

co (Endorsement Required}

| 4 : N8/39/ 2003

g Total Postage & Fees s $4.42 . : ls

oo

+

mt

nT

r

o

t™

LO... ee
eet eur We NCS 302-222

ou nn es a , Se Ba tee res cu [isaac

I eet

a

wt

Case 1:03-cv-02494-RJL:. Document 1-2 © Filed 12/03/03. Page 9 of 15
my ON Ga
‘awe! hk Gary Scurka, Producer

. : . : oo -Winner- .
Columbia duPont Silver |

Baton
The Polk Award
Investigative Reporters 8c
Editor's:
Tom Renner Award.

Two Time Recipient IRE

Second Request Meat

: The National Headliners
FOIA REQUEST The Nasional Pest
¢ National Press Club
August 17, 2003 je
Ref. #FN-3A | Emmy Award Winnér *
Commander . oO
U.S. Army Special Operations Command Ed Caraballo, Producer’
Deputy Chief of Staff, Information. Management 9 rime Eenany Award Winer
ATIN: AOIM-ISM (FOIA Officer) .
Fort Bragg, NC 28310

Dear Ms. Wrench,

This is an immediate request for records under the Freedom of Information Act (5 USC
§552- “FOIA” laws) of the United States of America. We are journalists currently
working on a story of public interest. This is our’second request, the first is also attached.

We are a media organization and request a waiver - of fees for this request because.
disclosure of the requested information is in the public interest because it is likely to
contribute significantly to the public interest of DOD operations, andisnotina =
commercial interest. However, we are willing to pay any fees associated with the request:
Please notify us in writing if our waiver is turned down, and/or if the fees associated with
this request exceed $100.

To save the costs and workload associated with reproduction, electronic copies are
acceptable on diskette or CD in any format that can be read by Microsoft Word.

The below FOIA information is requested regarding, related to, or in reference to;

Major Gary M. Kolb, USASOC Public Affairs Office,
Major Robert Gowan, USASOC Public Affairs Office,
Major Scott Stearns, USASOC Public Affairs Office,
Brian Sutton, USASOC Public Affairs Office,
Major Kathleen Culp, USASOC

Fox: News and employees thereof,

Joe Cafasso, and, Edward Artis.

PBN News ¢ www.pbnNews.tv
The most in-depth online investigative reports anywhere
PO Box © Fayetteville, NC 28302
646/244-9535 Phone * admin@pbnnews.tv email

Case 1:03-cv-02494-RJL Document 1-2 . Filed 12/03/03 Page 10 of 15
Ne!

A

The Following are each individual FOIA requests:

1. All releasable personnel files and employment information, to include all complaints
and reprimands in their personnel files and any other documents releasable by law,
relating to: Major Gary M. Kolb, Major Rob Gowan, and Major Kathleen Culp, CW5
Larry Plesser, (each of which are personnel in USASOC or subordinate commands).

2. Copies of all documents faxed, mailed, ot emailed from, OR to, OR in possession of:
Major Gary Kolb, Major Rob Gowan, Major Kathleen Culp, and/or the USASOC
Public Affairs Offices; which pertain to, or mention:

Robin Moore, aka Robert L. Moore;
Any Matters involving Keith Idema;
Any matters regarding Edward Artis;
Any matters regarding Joseph Cafasso;
Any matters regarding Robert C. Morris;
Any matters regarding FOX News, or any employee thereof;
_ Any matters regarding al-Qaida (al-Qaeda) terrorist training tapes.
The Random House book, THE HUNT FOR BIN LADEN

Boe rho Bo op

3. All documents, faxes, emails; or other records pertaining to, or mentionmg the name of,
or in reference to; J. Keith Idema, Jonathan [dema, Jack Keith Idema, or Jack Idema, or
the Random House book THE HUNT FOR BIN LADEN.

Thank you for your assistance.

Sincerely,

Ed Caraballo
PBN News

PBN News ° www.pbnNews.tv
The most in-depth online investigative reports anywhere
PO Box © Fayetteville, NC 28302
646/244-9535 Phone © admin@pbnnews.tv email

Case 1:03-cv-02494-RJL Document 1-2 Filed 12/03/03 Page 12 of 15

a

, esiallieaibat at Sa id ead

Se ae ae ate Sere

® Complete items 1,2, and3.Also complete A, Received by ase Print ed B. Date of Delivery |
item 4 if Restricted. Delivery is desired. Pench 2 Sep OS pod
m@ Print your name and address.on the reverse +4 Fete
. . $0 that we can return the card to you. : “ore
— Attach this card to the back of the mailpiece,
or orr the front if space permits.

4 scot
PL Addresses
D. Is deliverfaddress different from item 1? C1 Yes

if YES, enter delivery address below: CI No

1. Article Addressed to:

Commande
uw.S Aiem ree Operation 5 Cometird

emnen +
AN ho Or" “Managy 3. Service Type , ee

ATT ALY Aoim- TSM (Fora oft its ry ertified Mail ° [1 Express Mail

Registered ~ (1 Return Receipt for Merchandise. }
eet BRAGG, NC ASSO CH insured Mail 1.6.0.0. !
4. Restricted Delivery? (Extra Fee) CT Yes
2. Article Number e >, r ~
(ransfer trom service label} 7 e 94 3. dg G 00; a é. oe Ga 3 “yy ‘>

PS Form 3811; March.2001 Domestic Retin Receipt | 402595-01-M-1424

Te ee oa
Oy sia FN elf

erate ee csc ee etree gg 7

4 rrr ea [a ee j a = ; 5
“m [C Sa ysl ae. fora “Fal 3/34)
a Postage |3 $f, 3? |
m Certified Fee $2.0 0208 i
ci Oe Postmark i
Return Receipt Fee $1.75 Here i
ns {Endorsement Required)
 echateies | 58-00
- I
q Total Postage & Fees | § $4.42 08/25/2003
aT s[ Name (Please Print Clearly) (to be completed by imatien . :
m |"PBN N05
i, Apt. Nog or PO ee
rr te POL
ca FSi, See Psd
é Petteui Ul 2 NC DF 308-002 a

poe ord reRCRSlean Osh ESISo] SS lasek oh icelg peice

‘ Case 1:03-cv- 02494-RIL Document 1-2. Filed 12/03/03 Page 12 of 15 .
Nea! C Gary Scurka, Producer

- Winner-
Columbia duPont Silver
Baton :
The Polk Award
Investigative Reporters 8c”
Editor’s
Tom Renner Award.
Two Time Recipient IRE
Second Request Medalion

The National Headliners

FOTA REQUEST the Neon Pes Cb

August 18, 2003 ome
Ref. #FN-4A ay

Emmy Award Winner

Commander
U.S. Army Special Operations Command Ed Caraballo, Producer
Deputy Chief of Staff, Information Management . _ 9 dine Eznmy Award Winner
ATIN: AOIM-ISM (FOIA Officer)
Fort Bragg, NC 28310

Dear Ms. Wrench,

This is an immediate request for records under thé Freedom of Information Act (5 USC.
§552- “FOIA” laws) of the United States of America. We are journalists currently .
working ona story of public interest. We also request that no email be destroyed or
deleted until such time as this request'is complied with, or until such time as the entire
appeal process is completed i in the event that any request is denied.

We are a media organization and request a waiver of fees for this request because
disclosure of the requested information is in the public interest because it is likely to.
contribute significantly to the public interest of DOD operations, and is not in a
commercial interest. However, we are willing to pay any fees. associated with the request.
Please notify us in writing if our waiver is turned down, and/or if the fees associated with
this request exceed $100..

To save the costs and workload associated with reproduction, electronic copies are
acceptable on diskette or CD in any format that can be read by Microsoft Word.

The following FOIA information is requested regarding or im reference to;

Major Gary M. Kolb, USASOC Public Affairs Office,
Major Gowan, USASOC Public Affairs Office, -
Major Scott Stearns, USASOC Public Affairs Office,
Brian Sutton, USASOC Public Affairs Office,

Major Kathleen Culp, USASOC

Fox News and employees thereof,

Joe Cafasso, and/or, Edward Artis.

PEN News ¢ www.pbnNews.tv
The most in-depth online investigative reports anywhere
PO Box © Fayetteville, NC 28302 .
646/244-9535 Phone * admin@pbnnews.tv email

"Case 1:03-cv-02494-RJL Document 1-2 Filed 12/03/03 Page 13 of 15

The Following are each individual FOIA requests;

1. [request all copies of any and.all e-mails sent to or received from any USASOC e-mail
account, (as wells as any and all documents), official or unofficial, for the period of
November 1, 2001 until the present date, that were received from, were directed to,
were sent to, or-were copied to or from the following individuals:

Madeline. klosterman@foxnews.com
Linda. vestér@foxnews.com
Joe.cafasso@foxnews.com —
Paulina. krycinski@foxnews.com
Robert Morris -
Robert.morris@benning.army.mil
Robert.morris@knox.army.mil
Agentx@gnat.net
Rob Gowan oo
Robert.gowan@us.arnmy.mil
Robert.gowan@soc.mil (or other soc email address)
Kathleen Culp
‘Kathleen,rebecca.culp@us.army.mil
Kathleen rebecca. culp@soc.mil (or other soc email address)
Gary M. Kolb . .
Gary .kolb@us.army.mil.
Gary.kolb @soc.mil (or other soc email address)
Edward Artis
Knightsbrg@aol.com .
_ Knightsbridge@aol.com
Joe Cafasso
Poppingsmoke@acl.com
Alpha235@aol.com

PBN News * www.pbnNews.tv
The most in-depth online investigative reports anywhere
PO Box ® Fayetteville, NC 28302 -
646/244-9535 Phone * admin@pbnnews.tv email

. Case 1:03-cv-02494-RJL Document 1-2 Filed 12/03/03 Page 14 of 15

Dave Kildee
Dkildee@yahoo.com
Timothy Connolly
Connolly @peabody-sherman.org
Rick Thomas

Dianne Brandi

Chris Silvestri

Linda Vester

Bret Baier

Tony Snow

Kim Hume

Bnt Hume

John Moody

Kevin McGee

Roger Ailes

Jonathan Wachtel
“Desantis” (an employee of FOX News)
Larry Plesser

Jimmy Dean .
Nuffer@compuserve.com
Sfahq@aol.com
Setbagey@worldnet.att net

eet# 888878080 @ @

Thank you for your assistance.
‘Sincerely,

Ed Caraballo
PBN News

PBN News « www.pbnNews.tv
The most in-depth online investigative reports anywhere
PO Box * Fayetteville, NC 28302
646/244-9535 Phone * admin@pbnnews.tv email

Case 1:03-cv-02494-RJL Document 1-2 Filed 12/03/03. Page 15 of 15
on
uy

ef
Near

Say Ree ae Es a ra hie

= Complete jtems 7, 2, and 3. Also complete
iter 4 if Restricted Delivey is desired.

M@ Print your name and address on the reverse
so that we can return the card to you.

i Attach this card to the back of the maiipiece,
or on the front if space permits. |

1. Article Addressed to:
Cammarnder
US- Army: Special Operations
Depu Fy Chie FoF State,
in formation Managemen t+
ATTA: AOTM-LSAL Cee cer)

Feet Bragg NC 28316

Lo Seed i vad 3 id eae os ena

D. 1s delivery daidress different from item 1?
if YES, enter delivery address beiaw: = CT No

3: Service Type
GSertified Mail 1 Express Mail
C) Registered CI Return Receipt far Merchandise
C] Insured Maiti «= (0. C.0.0.

4. Restricted Delivery? (Extra Fee) C1 Yes

2: Article Number ~

(Transfer from service label} 25 S46 LO{2 0796 SIGS

PS Form 3811, March 2001. _.. Domestic Retiim Receipt 302595-01-N-1424 |

Cs Si ess tb guat 0 COT F-Y Ui

+
i
Postege |$ $9.40
Certified Fee $2.30 0208 |
: 04 Postmark i
Return Receipt Fee | $1 5 Here |
‘Endorsement Required} he
Restricted Delivery Fee $6.0 :
fEndorsement Required} . 6 t

; |
Total Postage & Fees’ $* $4.45 | 08/29/ 2685 f

a I400 O12 G340 34R5

i a seraje10 9 aa Bice cm

ot ious Psst

